BERKSHIRE COUNTY
Docket Report

 

1176CR00140 Commonwealth vs. Chalue, David T

 

 

 

 

 

 

 

 

 

CASE TYPE: _ Indictment FILE DATE: 10/06/2011
ACTION CODE: 265/1-0 CASE TRACK: C - Most Complex
DESCRIPTION: MURDER c265 §1
CASE DISPOSITION DATE05/16/2014 CASE STATUS: Closed
CASE DISPOSITION: Disposed by Jury Verdict STATUS DATE: 05/16/2014
CASE JUDGE: CASE SESSION: Criminal 1
DCM TRACK
Tickler Description Due Date Completion Date
_ Pre-Trial Hearing ee! 08/16/2012 08/19/2014
__Fimal Pre-Trial Conference ne! og/22/2012 0819/2014
__ Case Disposition o/oe/2012 05/19/2014
PARTIES
Prosecutor Attorney for the Commonwealth 072570
Commonwealth David F Capeless
Massachusetts Bar
38 West Center Rd

West Stockbridge, MA 01266
Work Phone (413) 447-5530

Added Date: 10/06/2011

Attorney 550420
Joseph A Pieropan

Massachusetts Bar

551 Tamarack Rd

Pittsfield, MA 01201

Work Phone (413) 822-6234

Added Date: 10/24/2019

Defendant Appointed - Indigent Defendant 648496
Chalue, David T Andrew Scott Crouch

892 Beacon Circle Law Office of Andrew S. Crouch

Springfield, MA 01119 Law Office of Andrew S. Crouch

22 Putnam Ave

Cambridge, MA 02139
Work Phone (617) 441-5111
Added Date: 03/01/2016

Other interested party
Alessio, Peter C.

Martin, Oliveira & Hamel, PC
75 South Church St.., Suite 550
Pittsfield, MA 01201

Other interested party
Berkshire County Sheriffs Office

 

 

 

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Other interested party
Koufman, Victor J.

Koufman & Frederick
265 Essex St. Ste 301
Salem, MA 01970

Other interested party
Koufman, Esq., Victor J.
Koufman & Frederick
265 Essex St., Suite 301
Salem, MA 01970

Other interested party
Poole Esq., C. Raye

Dept. of Corrections Legal Div.

70 Franklin St., Ste 600
Boston, MA 02210
Other interested party
Puddister, Esq., George
Koufman & Frederick
265 Essex St., Suite 301
Salem, MA 01970

 

 

 

 

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PARTY CHARGES

# |Offense Date/ | Code Town Disposition Disposition

Charge Date
1 08/28/2011 265/1-0

MURDER c265 §1
Oe ...Nolle Prosequi 12/21/2012
2 08/28/2011 265/1-0

MURDER c265 §1
Oe ..Nolle Prosequi 12/21/2012
3 08/28/2011 265/1-0

MURDER c265 §1
Oe ....Nolle Prosequi 12/21/2012
4 08/28/2011 265/26/A-2

KIDNAPPING c265 §26
Oe ...Nolle Prosequi 12/21/2012
5 08/28/2011 265/26/A-2

KIDNAPPING ¢265 §26
Oe... Nolle Prosequi 12/21/2012
6 08/28/2011 265/26/A-2

KIDNAPPING ¢265 §26
Oe ....Nolle Prosequi 12/21/2012
7 08/28/2011 268/13B/A-4

WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B
Oe ...Nolle Prosequi 12/21/2012
8 08/28/2011 268/13B/A-4

WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B
Oe... Nolle Prosequi 12/21/2012
9 08/28/2011 268/13B/A-4

WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B
Oe... Nolle Prosequi 12/21/2012
10 08/28/2011 265/1-0

MURDER c265 §1
11 08/28/2011 265/1-0

MURDER c265 §1
12 08/28/2011 265/1-0

MURDER c265 §1
13 08/28/2011 265/26/A-2

KIDNAPPING c265 §26
14 08/28/2011 265/26/A-2

KIDNAPPING c265 §26
15 08/28/2011 265/26/A-2

KIDNAPPING c265 §26
16 08/28/2011 268/13B/A-4

WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B
17 08/28/2011 268/13B/A-4

WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B

 

 

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18 08/28/2011 268/13B/A-4
WITNESS/JUROR/POLICE/COURT OFFICIAL, INTIMIDATE c268 §13B

 

 

 

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EVENTS
Date Session Event Result Resulting Judge
10/12/2011 Criminalt Arraignment Heldas Scheduled
121672011 Criminal StatusReview NotHeld
0123/2012 Criminal yo... Status Review... Held as Scheduled
(01/25/2012 Criminal Pre-Trial Conference Rescheduled
(01/25/2012 Criminalt StatusReview Rescheduled
02/22/2012 Criminal 1 Hearing RE: Discovery Canceled

Motion(s)

03/0712012 — Criminalt Hearing Held as Scheduled
03/0772012  Criminalt Hearing Held as Scheduled
03/27/2012 Criminal 1 Hearing Held as Scheduled

O7M22012  Criminalt Hearing Held as Scheduled
08/16/2012 Criminal t Hearing Canceled
08/16/2012 Criminalt Arraignment Held as Scheduled
09/20/2012 Criminalt Hearing Held as Scheduled
10/16/2012 Criminal? Status Review Rescheduled
Aone2012  Criminalt Status Review Held as Scheduled
12/10/2012 Criminal 1 Status Review Rescheduled

(04/22/2013 Criminalt Hearing Heldas Scheduled
(08/22/2013 Criminalt Hearing Heldas Scheduled
05/31/2013 Criminal 1 Hearing Held as Scheduled

Evidentiary Hearing on

Soe eee SUPPression
10/28/2013 Criminal 1 Evidentiary Hearing on Held as Scheduled
Soe eee Suppression
11/21/2013 = Criminal 1 Evidentiary Hearing on Held as Scheduled

Suppression

 

 

 

 

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A2f20/2013 Criminalt Final Pre-Trial Conference = Not Held
fefe72013 Criminalt Status Review Not Held
0103/2014 Criminalt Hearing on Motion(s) in imine NotHeld
0103/2014 Criminalt Hearing Not Held
01/06/2014 Criminal tt Jury Wat. Not Held
(09/24/2014 Criminal t Hearing Held as Scheduled
(012412014 Criminalt Hearing Held as Scheduled
01/30/2014 Criminalt Final Pre-Trial Conference = Not Held
02/13/2014 Criminal ts Final Pre-Trial Conference = Rescheduled
(02/24/2014 Criminal t Final Pre-Trial Conference = Held as Scheduled
(03/28/2014 Criminalt Status REVICW
04/11/2014 Criminalt Hearing on Motion(s) in imine Heldas Scheduled
(04142014 Criminalt Hearing Held as Scheduled
(04/15/2014 Criminalt Jury Wat. Not Held
(04/22/2014 Criminal t Jury iat. Held as Scheduled
04/23/2014 Criminalt Jury Tat, Held as Scheduled
04/26/2014 Criminal) suyTal Held as Scheduled
(04/28/2014 Criminalt Jury Wat. Held as Scheduled
04/29/2014 Criminal ts Jury Wat. Held as Scheduled
04/30/2014 Criminalt Jury iat. Held as Scheduled
05/01/2014 Criminalt Jury Tat, Held as Scheduled
(05/05/2014 Criminal) suyTal Held as Scheduled
(08/06/2014 Criminalt Jury Tat. Held as Scheduled
08/07/2014 Criminal ts Jury Wat. Held as Scheduled
05/08/2014 Criminalt Jury Wat. Held as Scheduled
(08/09/2014 Criminalt Jury Tat, Held as Scheduled
(08/12/2014 Criminalt Jury Tat, Held as Scheduled
(08/19/2014 Criminalt Jury Tat. Held as Scheduled
05/14/2014 Criminalt Jury Wat. Held as Scheduled
05/15/2014 Criminalt Jury Wit. Held as Scheduled
08/16/2014 Criminalt Jury Tat. Held as Scheduled
05/19/2014 Criminal 1 Hearing for Sentence Impositio| Held as Scheduled
FINANCIAL SUMMARY
Fees/Fines/Costs/Charge Assessed Paid Dismissed Balance
Total 150.00 0.00 0.00 150.00

 

 

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INFORMATIONAL DOCKET ENTRIES

 

 

 

 

 

Date Ref Description Judge
1oe/2011, 1 Indictment returned once bbe eee bee ee eee teeeeees
10/06/2011 2 Order of notice to prisoner of finding of indictment and entry on

docket entered. (service by delivering in hand to David T. Chalue at
467 Cheshire Rd. c/o BCHC Pittsfield MA 01201 on 10/12/11) (as to #11

10/06/2011 3 Order of notice to prisoner of finding of indictment and entry of
docket entered. (service by delivering in hand to David T. Chalue at
467 Cheshire Rd., c/o BCHC Pittsfield MA 01201 on 10/12/11) (as to
#11 140-2)

10/06/2011 4 Order of notice to prisoner of finding of indictment and entry on
docket entered. (Service by delivering in hand to David T. Chalue at
467 Cheshire Rd. c/o BCHC Pittsfield MA 01201 on 10/12/11) (as to #

Oo 11 140-8) ee
10/07/2011 Habeas corpus for Deft at Berkshire County House of Correction on

(es s.........., Wednesday, October 12,2001 at 9:00am.
10/07/2011 Summons for arraignment issued ret Wednesday, October 12, 2011 at

G00 IM eed
10/07/2011 Order of notice to prisoner of finding of indictment and entry on

docket to Murder, Ch. 265, Sec. 1 on Indictment Nos. 2001-140-1, 2 &
3, issued in hand to deputy sheriff.

10/12/2011 5 Notice of appearance of Leonard Cohen for the defendant filed.

Ooo eee eee eed (ASSIQNED) ne
1012/2011 | Deft arraigned before Court ne
10/12/2011 Assigned to track"C" see schedulingorder
10/12/2011 = Tracking deadlines Active since returndate,
10/12/2011 RE Offense 1:Plea of not guilty - Defendant ordered held without bail

and without prejudice. (Agostini J.) Defendant warned per C. 276 S.
58. $150.00 LCF assessed.

ton22011 | RE Offense 2:Plea of mot guilty cece ceceeeesee cece eececeeetetntnttntteeeeeees
ton22011 | RE Offense 3:Plea of mot guilty cece ceceeeesteeeeeeececeeetetntnntntteeeeeeees
ton22011 | RE Offense 4:Plea of mot guilty cece ceceeeesee ce eeeeeeceeeteentnntntteeeeeees
ton22011 | RE Offense 5:Plea of mot quitty oo ceeececeeeeste cece eceeceeeteenenntntteeeeeees
ton22011 | RE Offense 6:Plea of mot guilty eee ceceeeesne ce eeeceeceeeteentnntetteeeeeees
ton22011 | RE Offense 7:Plea of mot quitty cece ceceeeenee cece eeeeceeeeetntnntetteeeeeees
ton22011 | RE Offense 8:Plea of mot guilty oo eeececeeeecee ee eeecceceeeeeentnttttteteeeees
ton22011 | RE Offense 9:Plea of mot guilty cece ceceetesee ee ececeeceeeeeentnntttteeeeeeees
10/12/2011 Notice of unpaid counsel fees sent to Dept of Revenue and Registry of

MV on 10/12/2011

 

 

 

 

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10/12/2011 Mittimus for failure to recognize issued to Berkshire House of
Correction (Pittsfield)

10/13/2011 6 Summons returned and filed. (service by delivering in hand to David
T. Chalue at 467 Cheshire Rd. c/o BCHC Pittsfield MA 01201 on
10/12/11) (as to #11 140-4 thru 9)

11/09/2011 7 | Defendant's motion for funds forinvestigator filed. ne
11/09/2011 8 Affidavit in support of motion for funds for private investigator

FON eed
1vog2o1 | Defendant's motion for funds for investigator Allowed (Agostini, J).
1117/2011 9! Habe: returned wiservice eee
1117/2011 10! Habe: returned wiservice eee
01/09/2012 Letter received from Atty. Cohen indicating that all counsel request

_o0........................ an attorney's only status on 1/23 to amend scheduling order
01/23/2012 11______ Commonwealth's supplemental certificate of compliance filed.
01/23/2012 12 Commonwealth's motion to compel taking of buccal cell and hair

samples filed.

01/23/2012 15 Commonwealth's memorandum in support of motion for exhaustive testing
cc FCM ed
01/23/2012 Status held with attorneys, Further status and hearing on motion for

Oe e eee cece eee ee! buccal cell samples set for Wed, 3/7/12 at 2:00pm (FordJ.) ne.
01/23/2012 Notice sent on 1/24/2012 for further status and motion on 3/7/12 at

BOO PMs
02/14/2012 16 Commonwealth's motion for protective order regarding discovery

materials filed.

03/06/2012 18 Deft David T. Chalue's response to the Commonwealth's motion for
protective order

oso7/2012 MOTION (P#21) allowed (John A. Agostini). Copies mailed 3/8/2012,
03/08/2012, MOTION (P#12) allowed (John A. Agostini). Copies mailed 3/8/2012,
03/08/2012, MOTION (P#13) allowed (John A. Agostini). Copies mailed 3/8/2012,
03/08/2012 MOTION (P#19) denied (John A. Agostini). Copies mailed

 

 

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03/08/2012 24 Protective Order regarding discovery materials entered (Agostini,
J.). Copies certified to counsel

03/08/2012 25 Order on Commonwealth's motion to compel taking of buccal cell and
hair samples and Commonwealth's motion for exhaustive testing entered

03/23/2012 29 Pro Se Petition for leave to seek interloculatory appeal of this
court's order that buccal cell collection and DNA testing be
conducted, filed.

05/09/2012 38 Defendant's motion to allow subpoena of jail calls and disciplinary
records from informants, filed with affidavit, filed (impound)

05/09/2012 39 Defendant's motion to impound defendant's motion regarding subpoena
of jail calls and disciplinary records from informants,

05/09/2012 Status held -- deft not present. Further status set for Wednesday,
06/27/2012 at 2:00 p.m. to select dates (deft not needed). Defendants
Motion for Subpoena Rule 17 to be heard on 06/27/2012 also. (Ford, J).

05/09/2012 MOTION (P#33) allowed to extent that the District Attorney shall
provide dates of birth to Probation and Probation shall supply the
records (Daniel A. Ford, Justice). Copies mailed to counsel.

05/09/2012 MOTION (P#34) allowed to the extent that the Distict Attorney shall
provide dates of birth to Probation and Probation shall supply the
records (Daniel A. Ford, Justice). Copies mailed to counsel.

05/09/2012 Notice sent to appear for further status on Wednesday, June 27, 2012
at 2:00 p.m. Deft not needed.

06/18/2012 40 Defendant's motion to impound defendant's memorandum in support of
his motion to dismiss filed.

 

 

 

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06/18/2012 42 Defense counsel's affidavit in support of defendant's motion to
dismiss filed.

0618/2012, 44 | Defendant's motion for telephone end electronic records filed.
06/20/2012 _____ faxed - Deft filesAmended Motion Tolmpound ne
06/20/2012 Faxed - Affidavit of Attorney Donald W. Frank in support of

defendant's amended motion to impound

06/21/2012 45 Defendant's amended motion to impound defendant's memorandum in
support of motion to dismiss filed-temporarily impounded pending

06/21/2012 46 Counsel's affidavit in support of defendant's amended motion to
impound filed.

06/27/2012 47 Notice of appearance of Bonnie G. Allen, Esq. as co-counsel for the
defendant, filed.

06/27/2012 MOTION (P#44) allowed (no objection by Commonwealth)-compliance by
(occ eee... #127112, (Mary Lou Rup, J). Copies mailed 6/28/2012.
06/27/2012 Status held - Further Status set for hearing on Thursday, 8/16/12 at

2:00 p.m. along with any pending discovery motions, defendant's
motion to dismiss and motion to impound - the defendant is to be
habed. Hearing set for defendant's motion to allow subpoena of jail
calls and disciplinary records set for hearing on Thursday, 7/12/12
at 2:00 pm (Rup, J).

07/12/2012 Hearing on motion for discovery subpoena regarding jail calls and
disciplinary records held, matter taken under advisement (Agostini,

07/16/2012 48 Motion of witness, by his Attorney Thomas J. Donohue, to Redact Names
of Non-Witnesses and for Criminal Records, filed.

07/17/2012 49 Order on defendant's motion to allow subpoena of jail calls and
disciplinary records from informants entered (Agostini, J.). Copies
certified to counsel

07/20/2012 50 Defendant's objection to witness motion to redact names of non
_.........................., Witnesses and criminal records filed. eee
08/08/2012, === ——______ Summons for arraignment issued ret Thursday, 8/16/12 at2;00pm
08/08/2012 Order of the court under G.L. (Ter.EdP C. 277 Sec.65 accompanying

copy of indictment for murder on #11 140- 10 thru 12 issued in hand
ooo... to deputy sheriff ne
08/08/2012 Notice sent scheduling status conference for hearing on Thursday,
oo... 9/20/12 at 2:00 pmto counsel ee
08/08/2012 Habeas corpus for Deft at Berkshire House of Correction (Pittsfield)

will be faxed for hearing date of 8/16/12 at 2:00 pm for arraignment

 

 

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08/16/2012 51 Order of the court under G.L. (Ter.Ed) C. 277 S. 65 accompanying copy
of indictment for murder, returned and entered. . (service by issuing
in hand to defendant at Berskhire Superior Court on 8/16/12 at 1:15
pm as to # 11 140-10)

08/16/2012 52 Order of the court under G.L. (Ter.Ed) C. 277 S. 65 accompanyiing
copy of indictment for murder returned and entered. (service by
issuing in hand to defendant at Berkshire Superior Court on 8/16/12
at 1:15 pm as to #11 140-11)

08/16/2012 53 Order of the court under G.L. (Ter.Ed.)C. 277 Sec. 65 accompanying
copy of indictment for murder returned and entered. (service by
issuing in hand to defendant at Berkshire Superior Court on 8/16/12
at 1:15 pm as to #11 140-12)

08/16/2012 RE Offense 10:Plea of not guilty - Defendant ordered held without
bail, without prejudice C. 276 S. 58 warning read, court waives
$150.00 LCF. (Rup J.) Court orders court to prepare habe for
defendant for status conference 9/20/12 at 2:00 pm (Rup, J).

oe/16/2012, RE Offense 11:Plea of not guilty eects
oe/16/2012, RE Offense 12:Plea of not guilty eect eeee
oe/16/2012, RE Offense 13:Plea of not guilty cece eee eee eee cece
oe/16/2012, RE Offense 14:Plea of not guilty cece eee eee eee eens
oe/16/2012, RE Offense 15:Plea of not guilty eee eects
oe/16/2012, RE Offense 16:Plea of mot guilty eects
oe/16/2012, RE Offense 17:Plea of mot guilty cece eee eects
oe/16/2012, RE Offense 18:Plea of mot guilty cece eee eects
08/16/2012 Mittimus for failure to recognize issued to Berkshire House of

Correction (Pittsfield)

08/20/2012 57 Summons returned and filed as to #11 140-13 thru 18 (service by
delivering in hand to defendant on 8/16/12 between 1:15 and 1:18 pm
at BCHC 467 Cheshire Rd., Pittsfield MA)

09/17/2012 59 Defendant's motion to amend order for motion to allow subpoena of
Oe ee eee jail calls and disciplinary records from informants filed. ee.
09/18/2012, Notice sent on 9/18/2012 for status conference on 10/16/12 at2:00pm
09/20/2012 Hearing held before (Agostini, J.) on deft's motion to amend order

relative to jail phone calls and disciplinary records of informants;

under advisement

 

 

 

 

 

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09/21/2012 60 Amended Order on defendant's motion to allow subpoena of jail calls
and disciplinary records from informants entered (Agostini, J.).
Copies certified to counsel

10/16/2012 Defendant not present for status conference - status conference held
- counsel have until Friday, 10/26/12 to submit joint proposed agenda
to the court for Judge Agostini to review. Further status set for

12/12/2012 #62A-Defendant's motion to continue status conference from 12/10 to
12/21 filed and allowed (Ford, J.).

12/20/2012 63 MOTION by Commonwealth: Amended Mation for Joinder of Offenses and
Defendants, filed.

f2i2v2012, | RE Offense 1:Nolle prosequi cee
f2i2v2012, | RE Offense 2:Nolle prosequi ee
f2i2v2012, | RE Offense 3:Nolle prosequi ee
f2i2v2012, | RE Offense 4:Nolle prosequi ne
f2i2v2012, | RE Offense 5:Nolle prosequi ee
f2i2v2012, | RE Offense 6:Nolle prosequi ee
f2i2v2012, | RE Offense 7:Nolle prosequi ee
f2i2v2012, | RE Offense 8:Nolle prosequi ee
12/21/2012 RE Offense 9:Nolle prosequi

12/21/2012 Case on before (Ford, J.) for status; after hearing, further status
scheduled for 1/31/2013 at 2:00 PM at which time the defendant will
report what motions he intends to file; when they will be filed and

01/31/2013 Case on before (Ford, J.) for status; deft. not present; any
discovery motions are to be filed by 2/25; McCarthy or other motion
to dismiss to be filed by 3/11; opposition to motion to join to be
filed by 3/25; counsel agree that the Comm will draft a letter

01/31/2013 65 Deft's ex parte motion for funds (2nd request) filed and allowed
(Ford, J.).

01/31/2013 66 Deft's ex parte motion for funds (2nd request) filed and allowed
(Ford, J.).

 

 

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02/25/2013 67 Order for special assignment assigning the Honorable C. Jeffrey
Kinder for all purposes entered (Rouse, C.J.)

02/26/2013 68 Motion of New England Newspapers, Inc. to intervene and vacate
impoundment orders, with memorandum in support thereof filed.

02/26/2013 69 Deft's Rule 17/Lampron motion for jailhouse informant records , with
affidavit of counsel filed.

02/26/2013 71 Deft's motion for exculpatory evidence: promises rewards and
inducements filed.

02/26/2013 73 Defendants' motion for Rule 17 subpoena pursuant to Lampron/Dwyer re:
KOR Medical and Mental Health Units, Berkshire County House of
Correction filed.

oo fled
02/26/2013 __—_—_« #82A-Defendant's ex parte motion for fees filed
03/12/2013 83 Defendant's motion to continue filing date for motion to dismiss

filed.

04/03/2013 Notice sent for counsel to appear on Monday, April 22, 2013 at 2:00

Ooo ee eee PM in Northampton for status one
04/05/2013, | Letter received from the deft. regarding filing ofprose motions
04/08/2013 MOTION (P#83) allowed-motions to be filed by 5/10/2013 (Kinder, J.).

Soe! Copies mailed 4/22/2013 ee
04/08/2013 MOTION (P#84) denied without prejudice as there is no affidavit in

support of the motion (Kinder J.). Copies mailed

04/10/2013 86 Affidavit in support of ex parte motion for fee transcription and
fees for replacement DVDs and CDs filed.

04/10/2013 MOTION (P#84) allowed-not to exceed amount requested without further
order (Kinder, J.). Copies mailed 4/22/2013

 

 

 

 

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04/23/2013 Notice sent on 4/23/2013 for hearing on pending discovery motions,
motions to dismiss, Commonwealth's motion for joinder and pre trial
hearing for 5/22/13 at 2:00 pm and further hearing if necessary for
5/31/13 at 2:00 pm

05/21/2013 #95A - Berkshire County Sheriff's Office's opposition to defendant
David Chalue's Rule 14 motion for incarcertion information of inmates

05/22/2013 98 Berkshire County Sheriff's Office's limited opposition to defendant
David Chalue's Rule 17 motion for medical and mental health records
with certificate of service filed.

05/22/2013 100 Commonwealth's memorandum in opposition to the defendants motions to
dismiss for lackof jurisdiction insufficiency of the evidence and for

05/24/2013 #101A - Order on the defendants’ motion to dismiss entered. (Kinder
Seed
05/31/2013 102 Commonwealth's memorandum opposing New England Newspapers Inc.'s

 

motion to intervene and vacate impoundement orders filed.

 

 

 

 

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05/31/2013 MOTION (P#68) After hearing and consideration of the pleadings and
bearing in mind that impoundment of judicial records is the exception
rather than the rule, | conclude that Judge Agostini's earlier
impoundment orders should not be vacated. | am persuaded by the
Commonwealth's and the defendants’ arguments that disclosure of the
search warrant applications now impounded would adversely impact the
defendants’ rights to a fair trial in that (1) the inflammatory
nature of the material could have a chilling effect on witnesses
cooperating with the Commonwealth or the defendants; and (2)
disclosure and publication of the graphic information, much of which
will be inadmissible at trial court so infect the pool of potential
jurors as to make selection of a fair and impartial jury impossible.
| conclude, therefore, that this is the rare case in which, when
balancing the public's right to access with the defendants rights to
a fair trial, the scales tip in favor of continued impoundment. For
those reasons, the motion of New England Newspapers Inc. to vacate
the impoundment orders is Denied. (Kinder J.). Copies mailed

06/04/2013 106 Defendant's Rule 17 Lampron motion for jail house informant records

oo fled
06/04/2013) 107 I Defendant's motion for incarceration information ofinmates filed,
06/27/2013 108 Defendant's motion to amend amended order on defendant's motion to

allow subpoena of jail calls and disciplanary records from
informants, with certificate of service, filed.

08/19/2013 109 Stipulated agreement for a protective order concerning all jail
records, filed. These documents are submitted subject to the
stipulated agreement for a protective order which is filed herewith.
1) Dates of incarceration at the Berkshire County Jail and House of
Correction dating back to 2001; 2) Dates and times of each call made
or received at the Berkshire County Jail and House of Correction
(BCJHC) by the designated inmates; 3) Housing pod and room number of
designated inmates at the BCJHC from September 6, 2006 to March 12,
2012; 4) The names of each cellmate of the designated inmates at the
BCJHC from September 6, 2011 to March 6, 2012--During the relevant
period, none of the designated inmates had a roommate; 5) BCJHC
Segregation schedules for the designated inmates (Chalue, Lemieux and
Letalien) for the period September 6, 2011 to March 12, 2012; 6)
Inmate handbook; 7) BCJHC Visit Log for the designated inmates for
the period September 6, 2011 to March 12, 2012.

09/23/2013 110 (IMPOUNDED)-Defendant's motion for order to Commonwealth to account

09/23/2013 111 (IMPOUNDED)-Defendant's affidavit in support of motion for return of
legal documents filed.

 

 

 

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09/23/2013 116 (IMPOUNDED)-Defendant's Rule 17 Lampron motion for SBCC/Cashman
records filed.

09/23/2013 117 (IMPOUNDED)-Affidavit of defense counsel in support of motion for
SBCC/Cashman records filed.

09/23/2013 118 (IMPOUNDED)-Defendant's motion for Rule 17 subpoenas pursuant to
Lampron/Dwyer Jeffery Cashman mental health records, with affidavit
of counsel filed.

09/23/2013 120 (IMPOUNDED)-Defendant's motion to suppress Jeep stop and seizure ,
with affidavit of defendant filed.

09/23/2013 122 (IMPOUNDED)-Defendant's motion to suppress cell search at Souza
Baronowski filed.

09/23/2013 123 (IMPOUNDED)-Affidavit of Lastarandre Bell in support of motion to
suppress cell search filed.

09/23/2013 127 (IMPOUNDED)-Defendant's motion to suppress identification by Victoria
Ross filed.

09/26/2013 132 Defendant's motion to impound all motions dated 9/20/13, with
certificate of service, filed.

 

 

 

 

 

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10/11/2013

10/22/2013

Letters from Donald W. Frank, Esq. requesting certified copies of
docket sheets, indictments and appearance of counsel of (7) criminal
cases of potential witnesses, received. Mailed certified copies of
requested criminal case information to Donald W. Frank, Esq. on
9/27/13

Defendant's Rule 17/Lampron motion for SBCC David Chalue property
records filed.

Habeas corpus for Deft was faxed to BCHC for hearing on Friday
10/11/13 at 9:00 am in Hampden County Superior Court before Judge

Received letter from Attorney Frank informing court that Mr. Chalue
has been moved back to Souza-Barnowski Correctional Center.

Notice of assignment of counsel of Glenn Keiderling for witness Rose
Dawson for hearing in Springfield Superior Court on Friday, 10/11/13
at 9:00 am. filed.

Commonwealth's oral request to close courtroom - defendant does not
object. Commonwealth withdraws oral request to close courtroom.
Defendant's orally joined motion of co defendant #11 139 Adam Lee
Hall for change of venue. Motion for change of venue - taken under
advisement. Commonwealth concedes that regarding defendant's motion
for severance that severance is necessary. Commonwealth to file
written response to defendant's motion for severance by one week from
today. Oral motion of defendant and co defendant Adam Lee Hall to
sequester witnesses - allowed. Evidentiary motion hearing on motion

to suppress (paper #127, #124 and #120) exhibits taken. Continued to
10/28/13 at 9:00 am in courtroom 2 for further evidentiary hearing on
#120 and all other outstanding motions to suppress. Habe to issue.
Commonwealth to file written response to all outstanding discovery
motions within one week from today. (If any discovery motions involve
third parties who have not already been notified, then they should be
notified.) (Kinder J.)

#134 (A) Commonwealth's memorandum in opposition to the defendants’
motions to suppress evidence filed.

#134 (B) Commonwealth's memorandum of law in opposition to the
defendants' motion to suppress identification filed.

#134 (C) Defendant's Ex Parte motion for additional funds filed.
(IMPOUNDED)

Notice sent on 10/15/2013 for hearing on 10/28/13 at 9:00 am in
Hampden Superior Court

Commonwealth's response to the defendant's motion to sever filed.

 

 

 

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10/24/2013 137 Commonwealth's motion to impound application filed and allowed.
Oo! (Kinder J) ee
10/24/2013 138 Commonwealth's application filed and impounded (IMPOUNDED)
10/25/2013 139_____ Commonwealth's motion to permit use of audio visual technology filed.
10/25/2013 140 Commonwealth's response to outstanding discovery motions filed.

10/25/2013 142 Commonwealth's amended memorandum in opposition to the defendants’

oe eee eee eee eee! motions to suppress evidence filed. ee
10/28/2013 Continuation of motion to suppress held in Springfield before Judge

Coe! Kinder ee
10/30/2013 143 Order on the Commonwealth's motion to continue trial entered. (Kinder

J.) Commownealth's oral motion to continue the trial is DENIED. The
trial of defendant Hall will begin on January 6, 2014. Copies

10/30/2013 144 Order on the defendants' motions for severance entered. (Kinder J.)
The severance requested by Chalue and Veiovis is ALLOWED. Each
defendant will be tried separately. Hall's trial will begin on
1/6/14. The trial schedules of Chalue and Veiovis will be address at
the next scheduled hearing on 11/21/13. Copies certified to all

10/30/2013 Notice sent on 10/30/2013 for continuation of hearing on motions to
suppress evidence and outstanding discovery motions for 11/21/13 at

11/13/2013 Writ of Habeas Corpus for hearing on 11/21/2013 at 9:00 AM in
Springfield FAXED to Captain Raymond at the House of Correction;

11/21/2013. =_______ #145A Defendant's motion to join motion for change of venue filed.
11/21/2013 «#1458 - Defendant's motion for transcriptfled. ne
11/21/2013 Continuation of hearing on motion to suppress and any outstanding
_.........................., discovery motions heard in Springfield before Judge Kinder
11/25/2013 146 Commonwealth's memorandum in opposition to the defendants' motions to
_o..................... Suppress statements fled nee
11/26/2013 147 Memorandum of decision and order on defendants' motions to suppress

evidence seized from Jeep Wrangler on 9/4/11 - DENIED and entered.
Soe! (Kinder J.) ees
11/26/2013 148 Memorandum of decision and order on defendants' motions to suppress

Clubhouse statements - DENIED and entered. (Kinder J.)

11/26/2013 149 Memorandum of decision and order on defendants' motions to suppress
identification by Victoria Ross - DENIED and entered. (Kinder J.)

 

 

 

 

 

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11/26/2013 150 Memorandum of decision and order on defendants' motions to suppress

evidence seized from Elantra on 9/4/11 - DENIED and entered. (Kinder
Seed
11/26/2013 151 Omnibus order on defendants' outstanding discovery motions entered.

(Kinder J.)

12/04/2013 152 SCHEDULING ORDER, entered (Kinder, J). (Counsel to appear in Hampden
County for a final pre-trial conference on 1/30/14 without defendant
present; Deadline for filing motions in limine is 3/28/14; Hearing on
motions in limine set for 4/14/14 with defendant present; Trial to
begin on 4/15/14; If counsel wish to be heard regarding proposed
schedule they should appear before me at 2:00 pm on 12/19/13 in

12/04/2013 Notice sent to counsel scheduling final pre-trial conference for
1/30/14 at 2:00 pm before (Kinder, J) in Hampden Superior Court

12/04/2013 Notice sent to counsel for hearing on motions in limine on 4/14/14 at
9:00 a.m. to be held before (Kinder, J) in Hampden Superior

12/04/2013 Notice sent to counsel scheduling trial to begin on 4/15/14 at 9:00
a.m. before (Kinder, J) in Hampden Superior Court-Courtroom 2 in

12/17/2013 158 Defendant's affidavit in support of motion to view cell and
cell-block and motion for identification of inmates in cell-block

cc FCM ed
12/17/2013 159 Defendant's motion for identification of inmates housed with David
Oe Casey fed ed
12/17/2013 160 Defendant's motion for reconsider denial of Rule 17/Lampron motion
_o......................... for SBCC David Chalue property records filed. ee
12/17/2013 161 Defendant's motion to reconsider denial of motion for order to

Commonwealth to account for and return legal documents for documents
cc FCM ed
12/19/2013 MOTION (P#154) allowed - allowed until further order of the court
Soe! (Kinder J.) . Copies mailed 12/23/2013 es
12/19/2013 MOTION (P#155) allowed trial to commence April 17, 2014 (Kinder J.)
(oes... Copies mailed 12/23/2019 es
12/19/2013 MOTION (P#156) allowed no opposition (Kinder J.) Copies mailed

12/23/2013

 

 

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12/19/2013 MOTION (P#157) allowed - without objection (Kinder J.) Copies mailed

Oooo 1202312013 nee
12/19/2013, Document # 159 - deferred pending response from BCHC (Kinder J.)
12/19/2013 Document # 160 - deferred to 1/3/14 so that counsel for Sousa

Ooo e eee Baranowski can be present. (KinderJ.) ee
1219/2013, | MOTION (P#161) denied (Kinder J.) eee
12/19/2013 162 Stipulated agreement for protective order concerning viewing and

photographing at the Berkshire County Jail and House of Correction,

12/23/2013 163 Department of Correction's motion to intervene and opposition to
defendant's Rule 17 Lampron motion for SBCC/Cashman records filed.

12/23/2013 164 Department of Correction's response to defendant's motion for Rule 17
subpoenas pursuant to Lampron/Dwyer Jeffrey Cashman's Mental Health
Records filed.

12/26/2013 166 Commonwealth's response to the defendant's motion to reconsider order
Ooo eee eee regarding return of legal documents, fled. ne
12/31/2013 Received FAXED motion by Massachusetts Partnership for Correctional

Healthcare, LLC for reconsideration of the court's order allowing
defendant's subpoena for the mental health records of Jeffery Cashman
and request for impoundment

01/06/2014 171 Motion by Massachusetts Partnership for Correctional Healthcare LLC
for reconsideration of the court's order allowing defendant's
subpoena for the mental health records of Jeffrey Cashman (and
request for impoundment) filed. (IMPOUNDED)

01/08/2014 Notice sent on 1/8/2014 for hearing before Judge Kinder in Hampden
Superior Court for motions on 1/24/14 at 2:00 pm

01/13/2014 172 Defendant's pro se verified petition for appointment of private
counsel pursuant to GL C. 221 S. 40 filed.

01/16/2014 Notice sent on 1/16/2014 for hearing on 1/24/14 at 2:00 pm in Hampden
Superior Court before Judge Kinder on Defendant's pro se verified
petition for appointment of private counsel pursuant to GL c 221 s 40

01/16/2014 Habeas corpus for Deft at Souza-Baranowski Correctional Center and
Berkshire House of Correction for Friday 1/24/14 at 2:00 pm in

01/21/2014 173 Defendant's motion to order SBCC to allow extended contact with
defense team filed.

 

 

 

 

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Affidavit in support of motion to order SBCC to allow extended
contact with defense team filed.

Department of Correction's response to defendant's motion to
reconsider denial of Rule 17 Lampron motion for SBCC David Chalue

Notice of appearance of George Puddister, Esq. and Victor J. Koufman
as counsel for Massachusetts Partnership for Correctional Healthcare

After hearing, defendant's pro se verified petition for appointment
of new counsel Denied-see record for reasons, (Kinder, J.).

Defendant's motion to further amend order allowing defendant to
listen to recorded calls of Letalien and Lemieux previously provided
to defense counsel (pleading #108) filed and allowed without
opposition (Kinder, J.).

Defendant's motion for probation records of potential witnesses filed
and allowed without opposition (Kinder, J.).

Department of Correction's response to defendant's motion to order
SBCC to allow extended contact with defense team filed.

Defendant's motion to order SBCC to allow extended contact with

defense team Denied as to request for extended contact for the
reasons stated in response of Dept. of Corrections; Deferred as to

01/24/2014

MOTION (P#160) After reconsideration, my earlier order is modified as
follows: The Department of Corrections will provide pursuant to Rule
17 subpoena all records related to property taken or received from

the defendant at SBCC, including any correspondence related to such
property. This order is made after hearing at which the Department of
Corrections voiced no opposition to this order but stated a belief

that no such documents exist (Kinder, J.). Copies mailed 2/20/2014

Commonwealth's motion for continuance of scheduled trial filed and
allowed-trial will commence on 4/22/2014 (Kinder, J.).

02/24/2014 187

Berkshire County Sheriff's Office's opposition to defendant's motion
to prevent Berkshire County House of Correction from interfering with
investigation and trial preparation filed.

 

 

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02/24/2014 188 Berkshire County Sheriff's Office's memorandum of law in support of
its opposition to defendant's motion to prevent Berkshire County
House of Correction from interfering with investigation and trial
preparation, with affidavit of Sheriff Thomas Bowler, filed.

02/24/2014 189 Department of Correction's response to defendant's motion to prevent
Berkshire County House of Correction from interfering with

02/25/2014 MOTION (P#182) Denied-I am not persuaded that the locations cannot be

adequately described in testimony, photographs and diagrams (Kinder,
Oc NM eed
02/25/2014 MOTION (P#183) Denied. | am not persuaded that the evidence regarding

the locations described cannot be adequately described through

02/25/2014 MOTION (P#184) Denied. After hearing and consideration of the
pleadings and exhibits, | am not persuaded that there exists in
Hampden County so great a prejudice against the defendant that he
could not there obtain a fair and impartial trial (Kinder, J.).

02/25/2014 MOTION (P#186) Allowed, in part, and Denied, in part. As to request
number 1, bearing in mind that the Supreme Court has repeatedly held
that correctional officials are entitled to substantial deference in
implementing rules and providing for institutional security, Turner
v. Safely, 482 U.S. 78, 84-85 (1987), the request is Denied
essentially for the reasons set forth in the opposition filed by the
Berkshire County House of Correction; As to request number 2, the
defendant requested that no action be taken. As to request number 3,
the defendant will be remanded to the Hampden County House of
Correction for purposes of trial preparation and trial effective
April 7, 2014. To that extent, the motion is Allowed (Kinder, J.).

02/25/2014 190 Revised scheduling and remand order entered-deadling for filing of
all pre trial motions including motions in limine-3/28/2014; hearing
on pre trial motions at 10:00 AM in Hampden Superior Court on
4/11/2014; Writ of habeas corpus will issue; Trial will begin on
4/22/2014 at 9:00 AM; (Kinder, J.). Copies certified to counsel

03/20/2014 191 Defendant's motion for discovery of material related to polygraph
tests filed.

03/20/2014 192 Defendant's motion to view and copy evidence from Comm v. Hall filed
and allowed (Kinder, J.).

03/26/2014 196 Commonwealth's request to bifurcate the testimony of Lt. David Foley
filed.

 

 

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03/31/2014 198 Commonwealth's petition for Certification of necessity of attendance
of out of state witness Bryan Johnson with affidavit in support
thereof filed.

03/31/2014 202 Defendant's motion to dismiss or in the alternative to suppress cell
searches filed.

03/31/2014 203 Defendant's memorandum in support of motion to dismiss or in the
alternative to suppress cell searches filed.

03/31/2014 205 Defendant's motion to exclude cell phone expert terstimony as to
location of the defendant's phone filed.

03/31/2014 213 ___Defendant's motion in limine-voluntariness of statements filed.
03/31/2014 214 Defendant's motion in limine-Casey statements regarding defendant's
Oo! background filed. ees
03/31/2014 215 Defendant's motion in limine-in court identification by Victoria Ross
i FMC
03/31/2014 216 ___ Defendant's motion to sequester witnesses filed. ne,
03/31/2014 217 Defendant's motion in limine to strike reference to any counter
(eee... Surveillance fled ed
03/31/2014 218 Defendant's motion in limine to exclude certain testimony of multiple
oe ees.......... Sim cards and handsets filed es
03/31/2014 219 Defendant's motion in limine to strike prejudicial materials from
Co! intended Commonwealth exhibits filed.
03/31/2014 220 Defendant's motion in limine to exclude any statements of David

Glasser filed.

 

 

 

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03/31/2014 221 Defendant's motion in limine to be able to cross examine Rose Dawson
using information contained in Dwyer records and accompanying
affidavit and motion to seal both the motion and affidavit filed.

03/31/2014 224 Defendant's motion in limine to exclude evidence of prior bad acts or
prior incarcerations filed.

04/02/2014 225 Defendant's motion in limine to exclude testimony of jailhouse
informants filed.

04/02/2014 227 Memorandum of law in support of motion in limine to exclude testimony

(oe ..........., Of jailhouse informants filed, ee
04/03/2014 Summons issued to Massachusetts Partnership for Correctional

oe ee eee! Healthcare for production of mental health records ee
04/03/2014 Summons issued to Sourz Baranowski Correctional Center for production
oo... Of Certain records ee
04/03/2014 Summons issued to Daniel Sheridan, Esq. for certain mental health

oe eee eee eee eee! FECOTDS eee
04/04/2014 Habeas corpus faxed to: MCI Souza Baranowski for Monday 4/7/14 until

further order of the court. Also Hampden County House of Correction,
MCI Souza Baranowski and Berkshire House of Correction each was faxed

04/04/2014 ORDERED remanded to the custody of the Hampden House of Correction
(Ludlow) effective 4/7/14

04/04/2014 Records received in hand from Daniel Sheridan, Esq. from the House of
Correction

04/09/2014 229 Ex parte motion by Attorney Frank filed and allowed. (Kinder J.)

Oooo! IMPOUNDED, eee
04/09/2014 230 Ex parte motion by Attorney Frank filed and allowed. (Kinder J.)

Oooo! IMPOUNDED, eee
04/10/2014 231 Commonwealth's request to bifurcate the testimony of Trooper Carol
oon QUO FMCD nee
04/10/2014 232 Commonwealth's memorandum in opposition to the defendant's motion to

04/10/2014 234 Commonwealth's memorandum in opposition to the defendant's motion to
suppress cellular telephone records and conclusions of government's
experts filed.

 

 

 

 

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04/10/2014 235 Commonwealth's files memorandum in opposition to the defendant's
motion to exclude expert testimony as to the location of the
defendant's phone

04/11/2014 237 Department of Correction's opposition to defendant's Rule 17/Lampron
motion for SBCC/Kempton records filed.

04/11/2014 238 Department of Correction's motion to quash defendant's subpoena
issued to Keeper of the Records at Souza Baranowski Correctional
Center filed.

042014. MOTION (P#228) allowed ( Kinder, J.). Copies mailed 4/15/2014
042014. MOTION (P#194) allowed (Kinder, J.). Copies mailed 4/15/2014
042014. MOTION (P#195) allowed (Kinder, J.). Copies mailed 4/15/2014
042014. MOTION (P#196) allowed (Kinder, J.). Copies mailed 4/15/2014
042014. MOTION (P#197) allowed (Kinder, J.). Copies mailed 4/15/2014
042014. MOTION (P#198) allowed (Kinder, J.). Copies mailed 4/15/2014
04/11/2014 Hearing held in Hampden Superior Court before the Honorable C.
-o...................Seffrey Kinder on pre trialmotions eee
04/11/2014 MOTION (P#199) allowed in part as to only those names beginning with
Oo! MC (Kinder, J.). Copies mailed 4/15/2014 ee
042014. MOTION (P#209) allowed (Kinder, J.). Copies mailed 4/16/2014
04/11/2014 Hearing held before (Kinder, J.) on defendant's motion to exclude

testimony of Letalien and Cashman, also, on defendant's motion to
dismiss/suppress jail cell searches; under advisement (deft.

requested that the hearing on the motion to exclude testimony be open
to allow for information regarding correctional officer to be

identified)

04/11/2014 240 List of exhibits relative to evidentiary hearing held on motion to
exclude testimony of Letalien and Cashman and motion to

04/11/2014 241 List of witnesses who testified during evidentiary hearing held on
4/11 and 4/14 before (Kinder, J.). in Hampden Superior Court

042014. MOTION (P#191) denied (Kinder, J). Copies mailed
04/11/2014 ________ #241A-Deft's ex parte motion filed and allowed (Kinder, J).
04/14/2014 Evidentiary hearing continued before (Kinder, J.) on motion to

04/14/2014 242 Second Omnibus order on defendant's discovery motions entered
(Kinder, J.). Copies certified to prosecutors, defense counsel and
DOC counsel

 

 

 

 

 

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04/14/2014 MOTION (P#213) allowed as to closing instructions (Kinder, J.).
Oe... Copies mailed 4/16/2014 ees
04/14/2014 MOTION (P#216) allowed with exceptions( Kinder, J.). Copies mailed

Occ AVION eed
04/14/2014 MOTION (P#217) allowed as to opinion testimony (Kinder, J.). Copies

Ooo! mailed 4/16/2014 ee
0442014 MOTION (P#218) withdrawn in open court (Kinder, J.). Copiesmailed
0442014 MOTION (P#219) denied (Kinder, J.). Copies mailed
0442014 MOTION (P#221) allowed (Kinder, J). Copies mailed 4/16/2014
04/14/2014 MOTION (P#222) the court will give a limiting instruction (Kinder).
Oe... Copies mailed 4/16/2014 ees
0442014 MOTION (P#223) denied (Kinder, J.). Copies mailed
04/14/2014 243 Memorandum of Decision and Order on defendant's motion to exclude

testimony of jailhouse informants entered-Denied without prejudice to
renew should additional discovery warrant revisiting the issue
(Kinder, J.). Copies certified to counsel

04/14/2014 Defense counsel is to provide the Commonwealth with the CV of cell

phone expert; status report due from defense counsel about expert
Soe! reports by 4/18 ee
044i2014 | MOTION (P#231) allowed (Kinder, J). Copies mailed 4/16/2014
04/16/2014 Records received from the Department of Correction IMPOUNDED.
04/16/2014 244 Department of Correction's response to court's omnibus order on

04/16/2014 245 Commonwealth's petition for certification of necessity of attendance
of out of state witness Justin Lasky, with affidavit of District
Attorney Capeless filed and allowed (Kinder, J.). Out of state
witness summons issued to ADA Caccaviello

04/16/2014 Received E-Mail from Katherine Briggs, Esq. with Department of
Correction's response to the Court's second omnibus order on
defendant's discovery motions relative to production of certain
records.

04/17/2014 247 Defendant's motion to continue trial in order to obtain certain

Ooo! materials, with affidavit filed ene
04/18/2014 248 Order on the defendant's motion to continue trial-motion Denied

Ooo eee eee (Kinder, J.). Notice senttocounsel ene
04/18/2014 Received from the Department of Correction IMPOUNDED records relative
ooo... tocertainindividuals ne
04/18/2014 249 Department of Corrrection's response to Court's second omnibus order

_oo........................,9N defendant's discovery motions filed. nee
04/22/2014 Received from Attorney George J. Puddister,, records from MPCH.

Copies were provided to both the Comm and defense counsel. IMPOUNDED

 

 

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04/22/2014 250 Memorandum of Decision and Order on defendant's motion to dismiss or
suppress jail cell searches for violation of right to counsel
entered-motion Denied (Kinder, J.). Copies in hand to Comm and
Defense counsel

04/22/2014 251 Order on defendant's motion to suppress cell phone record data as
fruit of warrantless search and seizure entered-motion Denied
(Kinder, J.). Copies in hand to Comm and Defense counsel

04/22/2014 253 Defendant's motion for statements of Commonwealth witness Jeffrey
Cashman filed; Denied in light of the Commonwealth's representation
that it is not in possession of any written or recorded statements of
Mr. Cashman beyond the report of polygraph examination which has
already been disclosed; of course the Commonwealth has a continuing

04/22/2014 254 Defendant's ex parte motion (fourth request) filed and allowed
(Kinder, J.). IMPOUNDED

04/22/2014 256 Defendant's motion to continue trial filed and Denied-See memo of

(oo eee... ......, decision dated 4/18/2014 (Kinder, J.) ee
04/22/2014 MOTION (P#209) denied (Kinder, J.).Copiesmailed
04/22/2014 Commonwealth requests that the evidence begin on Friday 4/25 to allow

the family of one of the victims to attend a funeral service-allowed
(Kinder, J.)

04/22/2014 Trial commenced before (Kinder, J.). Court orders sixteen jurors
impanelled. Court will conduct an individual voir dire; 75 jurors
available today;

04/22/2014 Jurors 6, 8, 21, 24, 42, 47, 62, 70, 78 and 96 seated. Panel
exhausted. Comm used 7 peremptory chilgs; Deft. used 5 peremptory

04/22/2014 #256A-Commonwealth's motion in limine to admit defendant's pre trial
(oe. testimony fled ee
04/23/2014 The Court orders defense counsel to provide any expert report to the
(eee... Gomm by Wed. 4/30 (Kinder, J) es
04/23/2014 Jury impanelment continued; Jurors 17, 49, 51, 66, 67, 78 and 83

seated today; released until Fri. 4/25; The court seated 17 jurors;
in the event that no previously impanelled jurors are excused, the
17th juror will be excused. The court provided both counsel an

04/24/2014 No Court Today

 

 

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04/25/2014 Trial continued before (Kinder, J.). The 17th juror seated #17
excused from panel; proceeding with 16 jurors. Jury in, sworn,
indictments read-pre charge to jury 9:58-10:12; Commonwealth makes
opening 10:12-11:00; Deft. makes opening 11:00-11:13; Court adjourned

04/28/2014 262 Defendant's Rule 17/Lampron motion for additional SBCC/Cashman mental
health records, with affidavit in support thereof filed.

04/28/2014 Courtadjourmed 4:00
04/29/2014 ___ Trial continued before (Kinder, J).
04/29/2014 Commonwealth's motion in limine to admit the defendant's pre trial

testimony Denied for reasons articulated on the record today (Kinder,
SM ees
04/29/2014 ______ Trial continued before (Kinder, J.). Court adjourned 3:44
04/30/2014 MOTION (P#206) denied for reasons articulated on the record (Kinder,
SM ees
04/30/2014 MOTION (P#214) For the reasons stated on the record, Allowed as to
Oe! items 2, 3 & 4; Denied as to item 1 (Kinder, J). ee
04/30/2014 MOTION (P#262) allowed after hearing (Kinder, J.).

04/30/2014 266 Defendant's motion in limine regarding the introduction of any and
all testimony regarding alleged statements to them by the defendant

FON eed
05/01/2014 ______ Trial continued before (Kinder, J.). Court adjourned 4:00,
05/01/2014 = #266A-Defendant's motion in limine re: photo ofarmfiled.
05/02/2014 No Trial today. Judge's conference

05/02/2014 267 Order for production of Massachusetts Partnership for Correctional
Healthcare, LLC records regarding Jeffery Cashman entered (Kinder,

05/05/2014 Deft's motion in limine re: arm, denied (Kinder, J.).

 

 

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Records (Impounded) received from Massachusetts Partnership for
Correctional Healthcare relative to Jeffrey Cashman. Records were
delivered directly to Atty. Frank who provided copies to the Court
and to the Commonwealth

Defendant 's EX PARTE Motion for funds filed and allowed-not to exceed
amount requested without further order of the court (Kinder, J.)

Defendant's Motion in limine to certain statements of Adam Hall
filed-Allowed as to use of racial epithet, otherwise denied for reasons stated

Defendant's Motion in limine to exclude testimony about condition of
Veiovis' house filed-dnied for reasons stated on the record (Kinder, J)

Defendant's Motion in limine to not introduce or otherwise adduce certain
testimony of Jeffery Cashman filed. 1)-Comm will offer only defendant's note;
2) Allowed; 3) Denied; 4) Denied (Kinder, J.)

Defendant's Motion to allow him to introduce Medical/Mental Health
documents relative to Jeffery Cashman filed. Deferred. the defendant does not
offer (Kinder, J.)

Defendant 's Motion in limine to not introduce or adduce certain testimony of
Jethro Kempton filed.

05/07/2014

Defendant's Motion in limine regarding testimony of Jason Lemieux
filed.-Witness Lemieux will be permitted to testify regarding statements the
defendant made to him about the conduct alleged in this case. He will also be
permitted to testify regarding the

defendant's admission to membership in the Aryan Brotherhood, as | have
determined that such membership is probative of his relationship with this and
other witnesses and the probative value outweighs the prejudicial effect. Any
testimony regarding defendant's intent to to harm to others is not admissible
on direct but may be admissible on redirect should the defendant challenge
Lemieux's motivation for testifying. With these exceptions the motion is
Allowed (Kinder, J.)

TRIAL ACTIVITY:

Trial continued before (Kinder, J.)

TRIAL ACTIVITY:

Trial continued before (Kinder, J.)

TRIAL ACTIVITY:
Trial continued before (Kinder, J.)

Commonwealth rests 2:49 PM

05/09/2014

Defendant's Motion for required finding of not guilty-venue and jurisdiction
filed and Denied (Kinder, J.)

 

 

 

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05/09/2014 TRIAL ACTIVITY:

Defendant rests 3:35 PM; no rebuttal; evidence closed

05/09/2014 285 Request for Jury Instructions
regarding the number of witnesses; witness protection; Aryan Brothers;
omissions in police investigations; regarding plea agreements with witnesses;
covering up the crime filed.

Applies To: Chalue, David T (Defendant)

05/12/2014 TRIAL ACTIVITY:

Trial continued before (Kinder, J.) charge conference held; defendant renewed

05/12/2014 287 Objection to to Instruction on Murder in the first degree filed. filed by David T
Chalue

Applies To: Frank, Esq., Donald W (Attorney) on behalf of Chalue, David T
(Defendant)

05/12/2014 TRIAL ACTIVITY:

Final arguments heard-Deft. 10:06-11:02; Comm 11:02-11:45; Court appoints
juror #49 foreman; Jury instructions held 12:14-1:14 Jurors #13, 9, 4 and 2
withdrawn as alternates; Officers sworn with jury. Jury began deliberating
1:17; at 2:17 counsel present in court Comm and Deft satisfied with the
exhibits and verdict slips; in court 4:20-received 2 notes from the jury; jury

05/13/2014 TRIAL ACTIVITY:

In court 9:08; jury in 9:11-inquiry made-no issues-resumed deliberations 9:13;
jury question in court 12:20-the court wrote response on the note and
returned it to the jury; note from jury 3:34-they want to leave-won't reach a

05/14/2014 288 Defendant 's EX PARTE Motion for funds with affidavit in support thereof filed
and allowed (Kinder, J.)

Applies To: Frank, Esq., Donald W (Attorney) on behalf of Chalue, David T
(Defendant)

 

 

 

 

 

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05/14/2014 289 Witness list
filed.

Applies To: Capeless, Esq., David F (Attorney) on behalf of Commonwealth
(Prosecutor); Frank, Esq., Donald W (Attorney) on behalf of Chalue, David T
(Defendant)

05/14/2014 290 List of exhibits
filed.

Applies To: Capeless, Esq., David F (Attorney) on behalf of Commonwealth
(Prosecutor); Frank, Esq., Donald W (Attorney) on behalf of Chalue, David T
(Defendant)

05/15/2014 TRIAL ACTIVITY:

jury resumes deliberations 9:10; jury question 2:00 pm; 2:50 pm-jury in
court-jury polled- juror #1 responded; jury out; deft. moved orally for a
mistrial-Denied (Kinder J.) Jury resumed deliberations and concludes at 6:10

05/16/2014 TRIAL ACTIVITY:

Trial continued before (Kinider, J.) Deft. renewed motion for a mistrial-Denied

05/16/2014 291 TRIALACTIVITY:

Verdict of Guilty of Murder in the first degree as to Count 10 by reason of
deliberate premeditation and extreme atrocity or cruelty returned affirmed and

05/16/2014 292 TRIALACTIVITY:

Verdict of guilty of Murder in the first degree as to Count 11 by reason of
deliberate premeditation and extreme atrocity or cruelty returned affirmed and

05/16/2014 293 TRIALACTIVITY:

Verdict of guilty of Murder in the first degree as to Count 12 by reason of
deliberate premeditation and extreme atrocity or cruelty returned affirmed and

05/16/2014 296 TRIALACTIVITY:

Verdict of Guilty as to Count 15 returned affirmed and filed.

 

 

 

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05/16/2014 299 TRIALACTIVITY:

Verdict of Guilty as to Count 18 returned affirmed and filed.Bail revoked; deft

05/19/2014 TRIAL ACTIVITY:

Sentences imposed 2:08 am-On Count 10-Life, MCI Cedar Junction; On
Count 11-Life MCI Cedar Junction to be served on and after the sentence
imposed on Count 10; On Count 12-Life, MCI Cedar Junction to be served on
and after the sentence imposed on Count 12; On Counts 13 & 16-8 to 10
years to be served concurrently with the sentence imposed on Count 10; On
Counts 14 & 17-8 to 10 years to be served concurrently with the sentence
imposed on Count 11; On Counts 15 & 18-8 to 10 years to be served
concurrently with the sentence imposed on Count 12; deft. to receive credit of
983 days; deft. assessed $90.00 v/w fee; (Kinder, J.) deft. advised of

05/23/2014 300 Notice of appeal filed.

Applies To: Frank, Esq., Donald W (Attorney) on behalf of Chalue, David T
(Defendant)

06/13/2014 Financial Note:

$90.00 v/w fee received.

11/05/2014 269 Appearance entered
On this date Andrew Scott Crouch, Esq. added as Appointed - Indigent
Defendant for Defendant David T Chalue
Appointment made for the purpose of Appellate action by Judge Hon. JohnA

12/22/2014 Notice to Prepare Transcript Order amended by striking April 12 and
inserting April 14, 2014, (Kinder, J). Certified copy to counsel and

02/29/2016 272 David T Chalue's Memorandum
filed.

 

 

 

 

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10/15/2018

Attorney appearance
On this date Bonnie G Allen, Esq. dismissed/withdrawn as Private Counsel
for Defendant David T Chalue

Attorney appearance
On this date Donald W Frank, Esq. dismissed/withdrawn as Appointed -

Court Reporter Sara Adams is hereby notified to prepare one copy of the
transcript of the evidence of 05/19/2014 09:00 AM Hearing for Sentence
Imposition

Also Ordered: Motions on David T. Chalue case heard before Judge Kinder

General correspondence regarding Letter with completed order for transcript
form with (3) cd discs for motion hearings held

on 3/7/12; 7/12/12; and 9/20/12 before (Agostini, J) for appeal on javs
recordings issued

Appeal: notice of assembly of record sent to Counsel

Applies To: Capeless, Esq., David F (Attorney) on behalf of Commonwealth
(Prosecutor); Crouch, Esq., Andrew Scott (Attorney) on behalf of Chalue,
David T (Defendant)

Appeal: Statement of the Case on Appeal (Cover Sheet).

Applies To: Capeless, Esq., David F (Attorney) on behalf of Commonwealth
(Prosecutor); Crouch, Esq., Andrew Scott (Attorney) on behalf of Chalue,
David T (Defendant)

Notice to Clerk of the Supreme Judicial Court of Assembly of Record

Applies To: Capeless, Esq., David F (Attorney) on behalf of Commonwealth
(Prosecutor); Crouch, Esq., Andrew Scott (Attorney) on behalf of Chalue,
David T (Defendant)

Notice of docket entry received from Supreme Judicial Court
On October 12, 2018-ORDER: Motion for funds to travel is remanded to
Berkshire Superior Court

Applies To: Crouch, Esq., Andrew Scott (Attorney) on behalf of Chalue, David
T (Defendant)

 

 

 

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11/06/2018

11/06/2018

10/18/2019 307

10/24/2019

10/24/2019

10/24/2019

Endorsement on Motion for funds to travel to meet with the defendant, Agostini
(#305.0): Other action taken

Upon referral to Judge Agostini by the Regional Administrative Justice-the

motion is Allowed (Agostini, J.)

Judge: Agostini, Hon. JohnA
Applies To: Crouch, Esq., Andrew Scott (Attorney) on behalf of Chalue, David
T (Defendant)

The following form was generated:

A Clerk's Notice was generated and sent to:
Attorney: Donald W Frank, Esq.

Attorney: Andrew Scott Crouch, Esq.
Attorney: Bonnie G Allen, Esq.

Attorney: David F Capeless, Esq.

General correspondence regarding Received a request from Attorney Andrew
Crouch Appeals Court Attorney for copies of the following documents: #209,
211, 219, 224, 250, 251, 266, 285, 287 and 300 along with copies of exhibits
#, 88, 174, 319-320, 326-330 and 348-349.

Court received Stipulation of Counsel pursuant to M.R.App. P. 8(e)(1) to
include Exhibit 1-The transcript of the grand jury proceedings consisting of
seven days of testimony, on various dates between September 2011 and
August 2012, contained in seven volumes numbered | through VII. The dates
of the proceedings are 9/30, 10/05, 10/06, 11/02, 11/03 of 2011; and 8/6 & 8/7
2012 filed. related to appeal

Applies To: Chalue, David T (Defendant); Capeless, Esq., David F (Attorney)
on behalf of Commonwealth (Prosecutor); Crouch, Esq., Andrew Scott

Endorsement on Stipulation pursuant to M.R. App. Pro 8(e)(1) to modify the Callan
record on appeal to add Grand Jury minutes, (#317.0): ALLOWED
on 10/21/2019 (Callan, J.)

Judge: Callan, Hon. Michael K
Applies To: Chalue, David T (Defendant); Capeless, Esq., David F (Attorney)
on behalf of Commonwealth (Prosecutor); Crouch, Esq., Andrew Scott

The following form was generated:

A Clerk's Notice was generated and sent to:
Attorney: Donald W Frank, Esq.

Attorney: Andrew Scott Crouch, Esq.
Attorney: Bonnie G Allen, Esq.

Attorney: David F Capeless, Esq.

Attorney appearance
On this date Joseph A Pieropan, Esq. added for Prosecutor Commonwealth

 

 

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10/24/2019 Revised copies of docket entries sent to Supreme Judicial Court along with
Stipulation of Counsel approved by the Court to supplement the record on
appeal by adding Grand Jury Minutes, along with CD containing referenced
grand jury proceedings (DSC Clerk)

Applies To: Chalue, David T (Defendant); Capeless, Esq., David F (Attorney)
on behalf of Commonwealth (Prosecutor); Crouch, Esq., Andrew Scott
(Attorney) on behalf of Chalue, David T (Defendant); Pieropan, Esq., JosephA

03/29/2021 309 Judgment after Rescript received. Affirmed. Unassigned
Notice of Decision from the Supreme Judicial Court for the Commonwealth.
For the reasons stated in the opinion, we conclude that the verdicts of murder
in the first degree are consonant with justice, and we decline to exercise our
authority under G. L. Ch. 278, Sec. 33E, to order a new trial or direct the
entry of verdicts of a lesser degree or guilt. Judgments affirmed. (Francis V.
Kenneally, Clerk)

03/29/2021 308 Notice of docket entry received from Supreme Judicial Court
Notice of Decision, FILED.

Applies To: Chalue, David T (Defendant)

 

 

 

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